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 8
     i                  UNITED STATES DISTRICT COURT
 9 I                   CENTRAL DISTRICT OF CALIFORNIA
10 I
         CRYSTAL HOLMES,                         Case No.: 2:18-CV-3739-PSG(Ex)
11 ~
12                                               SPECIAL VERDICT FORM
                     Plaintiff,
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14
15       ROSALINA HARRIS,
   i
16 ~                Defendant.
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                                                                             form as follows:
1       We,the jury in the above-entitled case, find on this special verdict
2
                                                                             Holmes' Fourth
3       Question 1. Did Defendant Rosalina Harris violate Plaintiff Crystal
4       Amendment right, guaranteed by the Unite  d States Constitution, to be free from
                                                r

5       unreasonable arrest without probable cause?
6
 7        ~
          '          Yes
 8

 9                   No
10           If you answered "Yes," then continue to Questions 2 and 3. If you answered
11      "No," stop here, and have the foreperson sign and date this form.
12 i
13 ~ Question 2. What are Plaintiffs damages?
14 ~
15
16 ,I

17                   Next, answer Question 3.
18
                                                                                         ss
 19      Question 3. Did Defendant Rosalina Harris act with malice, oppression, or reckle
20       disregard ofPlaintiffls constitutional rights?
21
22 i       `~         Yes
 23
 24                   No
 25 I
 26   If you answered "Yes," then continue to Question 4 on the next page. If you answered
 27 I "No," stop here, and have the foreperson sign and date this form.
 2g

                                                     ~a
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 1    Question 4. We impose punitive damages against Defendant Rosalina Harris in the
2     following amount:
 3
 4    ~    ~ , 5 im ~ 1 ~1(l~'~-
 5
 6          Signed                                     Dated:    ~7~~ ~
                        Jury Foreperson
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